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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK



FEDERAL HOUSING FINANCE AGENCY, AS
CONSERVATOR FOR THE FEDERAL
NATIONAL MORTGAGE ASSOCIATION AND
THE FEDERAL HOME LOAN MORTGAGE                            No. 11-cv-6201 (DLC)
CORPORATION,
                                                                 ECF Case
                         Plaintiff,

      -against-

NOMURA HOLDING AMERICA INC., et al.,

                         Defendants.


         DEFENDANTS’ MEMORANDUM IN RESPONSE TO PLAINTIFF’S
           “PROPOSED CONCLUSIONS OF LAW” AND PLAINTIFF’S
      “OPPOSITION TO DEFENDANTS’ PRETRIAL MEMORANDUM OF LAW”

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                            TABLE OF ABBREVIATIONS


Action                    FHFA v. Nomura Holding America Inc., et al., No. 11 Civ. 6201
                          (DLC)
Barnett Test.             Direct Testimony of Arnold Barnett, dated February 20, 2015


Certificates              The specific RMBS that Fannie Mae and Freddie Mac purchased
                          from the seven Securitizations at issue in this Action, from
                          November 16, 2005 to April 27, 2007
Defs.’ COL                Defendants’ Proposed Conclusions of Law, dated February 20,
                          2015, as corrected on February 24, 2015
Defs.’ FOF                Defendants’ Proposed Findings of Fact, dated February 20, 2015


Defs.’ Mem.               Defendants’ Pretrial Memorandum of Law, dated February 20,
                          2015, as corrected on February 24, 2015
Fannie Mae                Federal National Mortgage Association


Freddie Mac               Federal Home Loan Mortgage Corporation


Individual Defendants     David Findlay, John McCarthy, John P. Graham, Nathan Gorin, and
                          N. Dante LaRocca
LTV or CLTV               Loan-to-value ratio or Combined loan-to-value ratio
NAAC                      Nomura Asset Acceptance Corporation
NCCI                      Nomura Credit & Capital, Inc.
NHELI                     Nomura Home Equity Loans, Inc.
Nomura                    Nomura Holding America Inc., Nomura Asset Acceptance
                          Corporation, Nomura Home Equity Loan, Inc., Nomura Credit &
                          Capital, Inc., and Nomura Securities International, Inc.
Nomura Defendants         Nomura Holding America Inc., Nomura Asset Acceptance
                          Corporation, Nomura Home Equity Loan, Inc., Nomura Credit &
                          Capital, Inc., Nomura Securities International, Inc., David Findlay,
                          John McCarthy, John P. Graham, Nathan Gorin, and N. Dante
                          LaRocca
Nomura Holding            Nomura Holding America Inc.



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Nomura Securities       Nomura Securities International, Inc.
Opp.                    Plaintiff’s Opposition to Defendants’ Pretrial Memorandum of
                        Law, dated February 27, 2015
Plaintiff               Federal Housing Finance Agency
Pl.’s COL               Plaintiff’s Proposed Conclusions of Law, dated February 20, 2015,
                        as corrected on February 26, 2015
Pl.’s FOF               Plaintiff's Proposed Findings of Fact, dated February 20, 2015, as
                        corrected on February 26, 2015
RBSSI                   RBS Securities, Inc.
Riddiough Test.         Direct Testimony of Timothy J. Riddiough, Ph.D., dated February
                        20, 2015
RMBS                    Residential mortgage-backed securities
SEC                     Securities and Exchange Commission
Securities Act          The Securities Act of 1933, 15 U.S.C. 77a, et seq.
Securitizations         NAA 2005-AR6, NHELI 2006-FM1, NHELI 2006-FM2, NHELI
                        2006-HE3, NHELI 2007-1, NHELI 2007-2, and NHELI 2007-3
SLG                     Supporting Loan Groups
Vandell Test.           Direct Testimony of Kerry Vandell, Ph.D., dated February 20, 2015




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                Defendants respectfully submit this Response to Plaintiff’s Proposed Conclusions

of Law (“Pl.’s COL”) and Plaintiff’s Opposition to Defendants’ Pretrial Memorandum of Law

(“Opp.”).1

                                  PRELIMINARY STATEMENT

                Defendants here address several incorrect or misleading assertions made by

plaintiff in its “Proposed Conclusions of Law” and “Opposition to Defendants’ Pretrial

Memorandum of Law.” In these submissions, plaintiff (i) mischaracterizes the Court’s prior

rulings, see pp. 3–5, infra, (ii) misstates—and in some instances, wholly manufactures—legal

standards governing the remaining claims and defenses in this Action, see pp. 8–11, 15–18, 22,

infra, (iii) seeks to assign its burden of proof to defendants, see pp. 4, 12, infra, and (iv) distorts

some of the most basic facts of this Action, see pp. 14, 25, infra.

                                            ARGUMENT

I.      PLAINTIFF’S ARGUMENTS CONCERNING THE ALLEGED FALSITY OF
        REPRESENTATIONS IN THE OFFERING DOCUMENTS LACK MERIT.

        A.      Plaintiff Conflates Its Burden of Proof With Confidence Levels for Particular
                Expert Conclusions.

                Plaintiff notes that “[p]reponderance of the evidence does not anywhere near

require 95% certainty”—and then asserts that “[c]onsequently” a conclusion drawn by one of its

experts at a 95% confidence level is “more than sufficient in establishing Defendants’ liability in

this civil action.” Pl.’s COL ¶ 32; see also id. ¶ 58 (an expert conclusion at a statistical

“confidence level of 95% . . . [is] far higher than that necessary . . . to establish liability”).

These assertions are incorrect.

1
       This Response addresses only certain arguments and assertions made by plaintiff in its (i)
Proposed Conclusions of Law, and (ii) Opposition to Defendants’ Pretrial Memorandum of Law.
Any failure to address other arguments or assertions should not be construed as acquiescence.
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               It is of course true that in order to prevail, plaintiff must establish each element of

its claims by a preponderance of the evidence. None of plaintiff’s experts purport to opine that

any element of plaintiff’s claims has been established at any statistical confidence level, nor

could they. “The role of an expert is not to displace the [court] but rather to provide the

groundwork to enable the [court] to make its own informed determination.” FHFA v. Nomura

Holding Am., Inc., 2015 WL 353929, at *3 (S.D.N.Y. Jan. 28, 2015). A court must evaluate the

methodology employed by the expert in reaching his or her opinions—not merely the expert’s

confidence in the opinions. Cf. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 595 (1993)

(“[E]videntiary relevance and reliability” depend upon “principles and methodology” underlying

an expert submission.); see also Haim v. Sec’y of Dep’t of Health & Human Servs., 1993 WL

346392, at *11 n.9 (Fed. Cl. Aug. 27, 1993) (“That the percentage of certainty drops from 95%

in science to 50.1% in litigation does not obviate the need for the court to examine the basis for

the expert’s testimony. Otherwise, experts become hired guns and expertise a sham.”).

               The probative value of an expert’s opinion depends upon its relevance and

reliability, which turn on the principles and methodology underlying an expert’s analysis. Given

the fundamental methodological errors that pervade plaintiff’s experts’ analyses, see, e.g., pp. 6–

7, infra; Defs.’ Mem. at 65–66, the probative value of those conclusions is minimal.

       B.      Plaintiff Cannot Prove the Falsity of Statements Concerning How the Loans
               Were Originated.

               With respect to alleged falsity, plaintiff mischaracterizes the Court’s prior rulings,

plaintiff’s burden of proof, and the testimony of expert witnesses Robert Hunter and Michael

Forester.




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               1.      Plaintiff Cannot Satisfy Its Burden of Proving the Reliability of
                       Robert Hunter’s Methodology.

               In addressing Forester’s critiques of Hunter’s expert analysis, plaintiff advances

two incorrect arguments: (i) that the Court’s ruling on the admissibility of Hunter’s report

supports the proposition that “Mr. Forester’s critiques of Mr. Hunter’s methodology . . . carry

little weight,” and (ii) that defendants must offer “proof that [Mr. Hunter’s] sources . . . actually

were inaccurate” to “reduce the weight of Mr. Hunter’s testimony.” Pl.’s COL ¶ 39.

               First, the Court has not made any ruling concerning the weight that will be

accorded to Forester’s criticisms of Hunter’s testimony. Rather, the Court stated that “the actual

presence or likelihood of errors in [Hunter’s] data goes to the testimony’s weight, not its

admissibility.” FHFA v. Nomura Holding Am., Inc., 2015 WL 568788, at *14 (S.D.N.Y. Feb.

11, 2015). The Court continued, “Defendants may identify errors or likely errors in the

documents in question at trial, and may argue that Hunter failed to corroborate a particular

finding with more reliable information.” Id. Nothing in the Court’s prior opinions suggests that

Forester’s critiques of Hunter’s analysis “carry little weight.”

               Second, plaintiff argues, inconsistent with the Court’s February 11 Order, that

defendants bear the burden of offering “proof that [Mr. Hunter’s] sources . . . actually were

inaccurate.” Pl.’s COL ¶ 39. The Court has imposed no such standard, which would turn

plaintiff’s burden of proof on its head. Plaintiff must prove its case by a preponderance of the

evidence, and this includes proving that its experts’ methods and sources are reliable. “The party

seeking to introduce expert testimony bears the burden of establishing its reliability,” Harkabi v.

SanDisk Corp., 2012 WL 826892, at *3 (S.D.N.Y. Mar. 12, 2012), and “[i]t is critical that an

expert’s analysis be reliable at every step,” cf. Amorgianos v. Nat’l R.R. Passenger Corp., 303

F.3d 256, 267 (2d Cir. 2002) (emphasis added). Defendants, in contrast, may show that limited


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or no weight should be given to Hunter’s testimony based on the “likelihood of errors in []his

data,” especially where, as here, that showing has not been rebutted. Nomura, 2015 WL 568788,

at *14 (emphasis added).

               2.      Defendants’ Expert Michael Forester Fully Rebuts Hunter’s Findings
                       of Non-Compliance with Underwriting Guidelines.

               Plaintiff apparently concedes that defendants have identified errors in Hunter’s

findings of underwriting “defects.” See Opp. at 4 n.4. Plaintiff asserts, however, that where

defendants have identified an incorrect finding by Hunter, defendants must further analyze the

loan to determine whether it was defective absent the single incorrect finding. See Opp. at 4.

This is backwards. Hunter made the decision to evaluate “whether the underwriting defects for a

given Sample Loan, when viewed collectively, substantially increased the credit risk of the

Loan.” Pl.’s FOF ¶ 168 (emphasis added). As a result, if any one of Hunter’s findings is

incorrect, his opinion concerning the “collective[]” effect of these findings no longer holds.

Hunter did not, and cannot now, offer opinions about whether loans he reviewed would have

been defective if some subset of his findings was rejected.

               3.      Statements that Mortgage Loans “Generally” Complied With
                       Guidelines and that Depositors “Believed” Certain Underwriting
                       Guidelines Were Applied Are Statements of Opinion.

               Finally, plaintiff’s assertion that “[e]ach statement that the Mortgage Loans

generally complied with guidelines ‘is a classic statement of fact’” is not correct. Pl.’s COL ¶ 23

(quoting FHFA v. SG Ams., Inc., 2012 WL 5931878, at *2 (S.D.N.Y. Nov. 27, 2012).

Defendants recognize that the Court reached this conclusion at the motion to dismiss stage, see

SG Ams., 2012 WL 5931878, at *2, and, for the reasons set forth below, respectfully disagree

and preserve all arguments for appeal.




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               First, the prospectus supplements signal the subjectivity of the statements

concerning compliance with underwriting guidelines by using the term “generally.” See Defs.’

FOF ¶¶ 285–309.) The determination of how common a fact must be to qualify as “generally”

true necessitates “a judgment call based on all available positive and negative evidence.” Cf. In

re MF Global Holdings Ltd. Sec. Litig., 982 F. Supp. 2d 277, 313 (S.D.N.Y. 2013). This

threshold may fall in any number of places on the spectrum between “never” and “always,”

depending upon the beliefs and opinions of the speaker. Therefore, contrary to plaintiff’s

assertion, statements describing “general[]” compliance with applicable underwriting guidelines

are properly characterized as statements of opinion, not fact.

               Second, the prospectus supplements for two of the Certificates at issue expressly

state that the underwriting guidelines were “believed by the depositor” to have been applied—

making even more clear that, in those cases, the relevant statements are statements of opinion,

not fact. Specifically, the prospectus supplements for 2006-FM1 and 2006-FM2 provide “a

summary of the underwriting guidelines believed by the depositor to have been applied, with

some variation, by Fremont.” Defs.’ FOF ¶ 285 (emphasis added). Because these statements

are explicitly cast as opinions, they “qualif[y] the statements and indicate[] their status as

opinions, rather than as guarantees.” Malin v. XL Capital Ltd., 499 F. Supp. 2d 117, 144 (D.

Conn. 2007) (holding that statements concerning loan loss reserves “are statements of opinion”

in part because of the “language used by Defendants—e.g., XL ‘believes’ the reserves are

sufficient”); see also In re Ultrafem Inc. Sec. Litig., 91 F. Supp. 2d 678, 688, 697 (S.D.N.Y.

2000) (explaining that statement in prospectus prefaced by “[t]he Company believes” was a

statement of opinion because it was “expressly stated to be the Company’s beliefs”).

“[P]laintiffs should not be permitted to distort the plain meaning of the prospectus in order to



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state a claim,” In re Donald J. Trump Casino Sec. Litig., 793 F. Supp. 543, 568 (D.N.J. 1992),

aff’d, 7 F.3d 357 (3d Cir. 1993), and plaintiff’s attempt to characterize an express statement of

“belie[f]” as a statement of fact does not withstand scrutiny.

       C.      Plaintiff Has No Reliable Evidence—Direct or Circumstantial— That
               Appraisals Were Subjectively False.

               As part of its burden to establish that LTV ratios were materially misstated in

each of the prospectus supplements, plaintiff must “demonstrate[] subjective falsity by . . . the

appraiser, as well as the objective falsity of the LTV representations.” FHFA v. Nomura

Holding Am., Inc., 2015 WL 353929, at *1 (S.D.N.Y. Jan. 28, 2015). To meet its burden,

plaintiff must offer relevant and reliable “direct and circumstantial evidence that sheds light on

the individual’s state of mind.” Id. at *5. Plaintiff has no such direct evidence and concedes as

much. It argues instead that it “need not provide direct evidence of this mental state” but instead

“can ‘provide circumstantial evidence’ that the appraiser’s belief was not honestly held by . . .

showing that the appraisal did not conform to [USPAP].” Pl.’s COL ¶ 63 (quoting Nomura,

2015 WL 353929, at *6); cf. Nomura, 2015 WL 353929, at *6 (“Evidence of the extent to which

[appraisals] conformed to industry standards . . . may provide circumstantial evidence . . . .”).

Plaintiff’s proffered evidence—Kilpatrick’s CAM—is wholly unreliable. As such, plaintiff has

offered no reliable evidence of any kind that any appraisals of the subject properties were

subjectively false.

               1.      Kilpatrick’s CAM is Unreliable and Cannot Provide Circumstantial
                       Evidence of Subjective Falsity.

               Plaintiff purports to offer circumstantial evidence in the form of “credibility”

determinations made by Kilpatrick through use of “his CAM.” Pl.’s COL ¶ 66. As Dr. Barnett

testified, however, about half of the appraisals determined by Kilpatrick to be accurate (using his

Greenfield AVM) are nevertheless deemed not credible by the CAM. Barnett Test. ¶ 64.

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Plaintiff responds to this inconsistency by asserting that the CAM and Greenfield AVM

“measure different things,” so that “[t]he CAM methodology does not act as a check on the

AVM (and vice versa), but rather as an independent test of whether a given appraisal is

credible.” Pl.’s COL ¶ 70. If, as plaintiff now asserts, the Greenfield AVM and the CAM are

entirely independent—so that an appraisal can be non-credible even if it is perfectly

“accurate”—then a credibility finding by the CAM has no bearing (even as circumstantial

evidence) on whether an appraiser subjectively disbelieved his or her appraisal.

               2.      The Fact that a Purchase-Money Loan Had the Same Appraised
                       Value and Sales Price Does Not Indicate A Violation of USPAP.

               Plaintiff asserts that it is “compelling” evidence of subjectively false appraisals

that certain purchase-money loans had appraised values that matched the sales price. Plaintiff

quotes in particular the Uniform Standards of Professional Appraisal Practice’s (“USPAP”)

statement that “accepting an assignment with the price in an agreement of sale, option, or listing

or a sale price in a settled transaction as a predetermined value in the assignment violates

USPAP.” Pl.’s COL ¶ 72. Plaintiff implies that if the two values were the same, the appraiser

accepted a predetermined value in violation of USPAP. This is baseless. The fact that the

appraised value of property is the same as the sales price does not prove or imply any

wrongdoing by the appraiser—courts demand evidence, not conjecture or innuendo.

       D.      Plaintiff Cannot Meet Its Burden of Proving that Credit Rating
               Representations Were False.

               There is no dispute that the prospectus supplements accurately reported that it was

a condition of the offerings that Certificates would receive specified credit ratings. To the extent

that the prospectus supplements are deemed to have affirmatively represented what ratings were

given, there is also no dispute that the ratings stated in the prospectus supplements were the

ratings given by the rating agencies. Moreover, the credit ratings referred to in the prospectus

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supplements were statements of opinion. For example, in Capital Ventures International v. J.P.

Morgan Mortgage Acquisition Corp., 2013 WL 535320 (D. Mass. Feb. 13, 2013), plaintiff

claimed that “the ratings were based on faulty data including the appraisal values and owner-

occupancy statistics.” Id. at *5. Similarly, in Plumbers’ Union Local No. 12 Pension Fund v.

Nomura Asset Acceptance Corp., 632 F.3d 762 (1st Cir. 2011), plaintiff alleged that the reported

credit ratings were misleading in part because they were based on “inaccurate loan information.”

Id. at 775 (internal quotation marks omitted); see also In re Bear Sterns Mortg. Pass-Through

Certificates Litig., 851 F. Supp. 2d 746, 771 (S.D.N.Y. 2012) (same). In all of these decisions,

the courts concluded that the applicable standard was the standard for opinion liability.

Plaintiff’s attempt to distinguish these decisions is meritless.

               Plaintiff also relies on this Court’s prior characterization of its claims to argue that

it is not claiming “‘that the ratings themselves were false,’ but rather ‘that the ratings were

inflated and did not in fact apply to that collateral, since the defendants provided the ratings

agencies incorrect data regarding the loan population.’” Opp. at 7 (quoting FHFA v. Merrill

Lynch & Co., 903 F. Supp. 2d 274, 276 n.2 (S.D.N.Y. 2012)). This is a distinction without a

difference. Credit ratings represent the opinion of the relevant rating agency (in this case as to

the credit strength of the Certificates purchased by Freddie Mac and Fannie Mae) and there is no

dispute that the prospectus supplements accurately stated the ratings that were given. A claim

that a rating was “inflated” or “did not in fact apply” to the relevant Certificate is a claim that the

opinion reflected in the rating was wrong.




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II.    PLAINTIFF MISCHARACTERIZES THE LEGAL STANDARD FOR PROVING
       MATERIALITY AND IMPERMISSIBLY SEEKS TO SHIFT ITS BURDEN OF
       PROOF TO DEFENDANTS.

       A.      The SEC’s General Guidance With Respect to Assessing Materiality in the
               Context of Financial Statements Is Inapplicable and Irrelevant.

               Plaintiff incorrectly asserts that SEC Staff Accounting Bulletin No. 99 (“SAB

99”), which provides guidance concerning the auditing of financial statements, sets the standard

for assessing the materiality of the misstatements alleged here. See Pl.’s COL ¶¶ 14–17, 91, 93,

107. Plaintiff cites no authority for this proposition, and there is none.

               SAB 99 “provides guidance in applying materiality thresholds to the preparation

of financial statements filed with the [SEC] and the performance of audits of those financial

statements.” SAB 99, 1999 WL 1123073, at *1. Its purpose is “to provide guidance to financial

management and independent auditors with respect to the evaluation of the materiality of

misstatements that are identified in the audit process or preparation of the financial statements.”

Id. at *1 n.1. As used in SAB 99, “‘misstatement’ or ‘omission’ refers to a financial statement

assertion that would not be in conformity with GAAP.” Id. at *2 n.2.2 SAB 99 explicitly states

that it is “not intended to provide definitive guidance for assessing ‘materiality’ in other

contexts.” Id. at *1 n.1. Plaintiff fails even to acknowledge this clear indication that SAB 99

does not apply to the issues here.

               Moreover, by its own terms, SAB 99 does not apply here. Plaintiff alleges

misrepresentations in the prospectus supplements’ descriptions of mortgage loans underlying

certain asset-backed securities; it does not allege that any “financial statements” were not “in

2
       “Financial statement assertion” is an auditor’s term of art: under the Auditing Standards
Board’s Statement on Auditing Standards (“SAS”) No. 31, financial statement assertions refer to
“representations by management that are embodied in financial statement components.”
Auditing Standards Board, Statement on Auditing Standards No. 31 (Aug. 1980).



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conformity” with GAAP or any other accounting or auditing standards. Furthermore, because

SAB 99 expressly cabins its application to the accounting and auditing context, its “numerical

threshold” for assessing materiality is not meaningful in the present context. Id. at *1.

Plaintiff’s reliance on SAB 99 is misplaced, and contravenes the SEC’s stated intent in

promulgating that accounting bulletin. See id. at *1 n.1.

               Consistent with SAB 99’s intended purpose, the authorities to which plaintiff

points invoke SAB 99’s “5% threshold,” id. at *2, only for assessing the materiality of

misstatements in financial statements. Litwin v. Blackstone Group, L.P., 634 F.3d 706 (2d Cir.

2011), for example, involved allegations that Blackstone’s IPO prospectus omitted information

that, under Item 303 of SEC Regulation S-K, “the registrant reasonably expects will have a

material . . . unfavorable impact on . . . revenues or income from continuing operations.” Id. at

716 (quoting 17 C.F.R. § 229.303(a)(3)(ii)). The omissions at issue in Litwin thus involved the

presentation and discussion of financial statements—the topic SAB 99 was meant to address—

but not any matter at issue in this Action. As a result, while some courts have applied SAB 99’s

“5% threshold” in evaluating disclosures in financial statements, no court has generalized the

accounting standard to apply to other issues of materiality—which would be error.3

               In all events, SAB 99 itself describes the 5% threshold as “only the beginning of

an analysis” and explains that “an assessment of materiality requires that one views the facts in
3
        See, e.g., Hutchison v. Deutsche Bank Secs. Inc., 647 F.3d 479, 485, 487 (2d Cir. 2011)
(applying SAB 99 to a registrant’s accounting for asset impairments and loan loss reserves);
ECA, Local 134 IBEW Joint Pension Trust of Chicago v. JP Morgan Chase Co., 553 F.3d 187,
204 (2d Cir. 2009) (applying SAB 99 to “[a]n accounting classification decision” affecting the
disclosed valuation of certain assets); Ganino v. Citizens Utils. Co., 228 F.3d 154, 163-65 (2d
Cir. 2000) (applying SAB 99 to an incorrect recognition of revenue in earnings statements); City
of Pontiac Gen. Employees’ Ret. Sys. v. Lockheed Martin Corp., 875 F. Supp. 2d 359, 362, 368
(S.D.N.Y. 2012) (applying SAB 99 to disclosures of quarterly revenue and operating profit in
press release announcing financial results).



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the context of the ‘surrounding circumstances’ . . . or the ‘total mix’ of information.” SAB 99,

1999 WL 1123073, at *2. Accordingly, courts routinely rely upon SAB 99 to explain the

immateriality of seemingly significant misstatements or omissions. See, e.g., JP Morgan, 553

F.3d at 204 (explaining that although a classification of “$2 billion” in assets “may sound

staggering, the number must be placed in context,” including the total value of J.P. Morgan’s

trading assets); Lighthouse Fin. Grp. v. Royal Bank of Scotland Grp., PLC, 2013 WL 4405538,

at *6 (S.D.N.Y. Aug. 5, 2013) (explaining that RBS’s alleged understatement of its exposure to

the U.S. subprime market “appears large at first blush” but was immaterial in light of “RBS’s

total asset backed securities exposure” and “total assets”).

               As defendants will show at trial, plaintiff cannot show the materiality of the

alleged misstatements in light of the “surrounding circumstances . . . or the total mix of

information” available to a reasonable investor in residential mortgage-backed securities. See

Defs.’ Mem. at 83–94.4

       B.      Defendants Do Not Have the Burden of Proving the Magnitude of
               Disclosures that Would Have Mattered to the Credit Rating Agencies.

               Rather than showing that the alleged misstatements concerning credit ratings were

material, plaintiff seeks to transfer its own burden of proof to defendants. Specifically, plaintiff

argues that alleged misstatements concerning ratings were material because “[d]efendants have

not offered any credible contradictory evidence . . . arguing that the defects of the magnitude


4
         Plaintiff also argues that the requirements in the then-applicable SEC regulations of asset-
backed securities (“Regulation AB”) to disclose some of the categories of information plaintiff
alleges were misstated “is ‘evidence of its materiality.’” Pl.’s COL ¶ 94 (quoting United States
v. Bilzerian, 926 F.2d 1285, 1298 (2d Cir. 1991)). In Bilzerian, however, the Second Circuit
flatly rejected the proposition that disclosure requirements can be equated with materiality: “we
decline to hold that the information required to be disclosed . . . is material per se . . . simply
because such disclosure is required under the securities laws.” Bilzerian, 926 F.2d at 1298.



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found by FHFA’s experts, or any lesser magnitude, would not have mattered to the rating

agencies.” Pl.’s COL ¶ 106. Defendants have no such obligation. Rather, as the Court recently

stated, “[a]t trial, FHFA will have the burden of proving that any misrepresentations in the

Offering Documents were material.” FHFA v. Nomura Holding Am., Inc., 2015 WL 685153, at

*6 (S.D.N.Y. Feb. 18, 2015).

               With respect to the credit ratings representations in particular, “FHFA will be

required . . . to prove that such misrepresentations [to the credit agencies] affected the ratings

given by the agencies to these securities.” FHFA v. Nomura Holding Am., Inc., 2015 WL

629316, at *3 (S.D.N.Y. Feb. 13, 2015). Plaintiff has no credible evidence establishing a causal

connection between the alleged inaccuracies in the information defendants provided to the credit

agencies and the ratings the securities ultimately received. See Defs.’ Mem. at 82 & n.23.

Plaintiff thus will be unable to carry its burden of proving that the credit ratings representations

were materially false or misleading.5

III.   PLAINTIFF ALSO CANNOT SATISFY ITS BURDEN TO PROVE CONTROL
       PERSON LIABILITY.

               Plaintiff cannot provide sufficient evidence of “control” under Section 15 to

establish liability for any of the alleged control persons. See Defs.’ Mem. at 94-98. Plaintiff

instead refers to evidence indicating at best only control “status,” such as evidence of corporate

ownership. But control in Section 15 means much more than “status,” and “almost always

means the practical ability to direct the actions of people who issue or sell securities.” N.J.

5
        Plaintiff also mischaracterizes the Second Circuit’s discussion of the materiality of
“underwriting defects” in New Jersey Carpenters Health Fund v. Royal Bank of Scotland Group,
PLC, 709 F.3d 109 (2d Cir. 2013). See Pl.’s COL ¶ 97; Opp. at 8 n.9. Contrary to plaintiff’s
assertion, the court in New Jersey Carpenters did not state or imply that “even slight departures”
from underwriting guidelines “could greatly increase a loan’s credit risk.” Pl.’s COL ¶ 97.



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Carpenters Health Fund v. Residential Capital, LLC, 2010 WL 1257528, at *7 (S.D.N.Y. Mar.

31, 2010) (internal quotation marks omitted) (emphasis in original). Further, defendants have

already offered (in the direct testimony of its witnesses) sufficient evidence that each control

person “had no knowledge of or reasonable ground to believe in the existence of the facts by

reason of which [liability] is alleged to exist,” which provides an affirmative defense to Section

15 liability. See Defs.’ Mem. at 98-102; 15 U.S.C. § 77o. Plaintiff’s only meaningful response

is to assert identity among the affirmative defenses of Sections 11, 12, and 15, an argument that

has no basis in law and ignores the differences in relevant statutory language. In short, plaintiff

cannot meet its affirmative burden, nor rebut defendants’ affirmative defense, under Section 15.

       A.      Plaintiff Misstates Defendants’ Arguments as to Individual Defendants
               Gorin and McCarthy.

               Plaintiff asserts that “Nomura Holding, NCCI, Mr. Findlay, and Mr. Graham

assert the D.C. Code’s reasonable care defense . . . to controlling-person liability for FHFA’s

D.C. Blue Sky claim arising from the NAA 2005-AR6 Certificate.” Pl.’s COL ¶ 138. Individual

Defendants Gorin and McCarthy have also asserted this defense. See, e.g., Nomura Defs.’ Mem.

in Opp. to Pl.’s Motion for Partial Summary Judgment on Defs.’ Due Diligence and Reasonable

Care Defenses, Dec. 2, 2014, at 110 (“Plaintiff ignores the defenses of defendants other than

Nomura Securities. Plaintiff has failed to establish as a matter of law that any Nomura

Defendant is not entitled to its defenses under . . . the D.C. blue sky law . . . . These defenses

will be front and center at trial . . . .”). As defendants stated in their Pretrial Memorandum of

Law, Gorin and McCarthy “had no knowledge or reason to believe that the prospectus

supplements contained any misstatements or omissions.” Defs.’ Mem. at 101 (listing additional

facts for Gorin and McCarthy, and explaining that these “facts . . . demonstrate that the alleged

control person defendants are not liable under the D.C. Blue Sky law”).


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       B.      Plaintiff Cannot Satisfy Its Burden of Providing Sufficient Evidence of
               Actual Control.

               Although plaintiff recognizes that under Section 15, it is “required to prove actual

control, not merely control person status,” Pl.’s COL ¶ 115 (quoting In re Initial Public Offering

Sec. Litig., 241 F. Supp. 2d 281, 352 (S.D.N.Y. 2003)), plaintiff nevertheless argues that its

proffer of evidence of control status is sufficient to establish actual control. For example,

plaintiff asserts that the fact “Nomura Holding wholly owned . . . Nomura Securities directly,

and NAAC and NHELI indirectly . . . [is] alone suffic[ient] to prove Nomura Holding controlled

these primary violators.” Id. at ¶ 122. But naked ownership, particularly indirect ownership, is

nothing more than “status” control. Further, not even general control of an alleged primary

violator—even if it includes the power to direct—is sufficient. Plaintiff must show that

defendant possessed control over the specific transaction at issue. See, e.g., Ross v. Bolton, 1989

WL 80428, at *3 (S.D.N.Y. Apr. 4, 1989), vacated in part on other grounds, 1989 WL 80425

(S.D.N.Y. Apr. 10, 1989).

               Plaintiff next asserts that “control” in Section 15 “is read particularly broadly

when applied to shell entities.” Pl.’s COL ¶ 117. This “shell entity” principle, however, is not

found in the case cited by plaintiff, see SEC v. Mgmt. Dynamics, Inc., 515 F.2d 801, 812-13 (2d

Cir. 1975), and has no basis in law.6



6
        Plaintiff relies on STMicroelectonics v. Credit Suisse Group, 775 F. Supp. 2d 525, 536
(E.D.N.Y. 2011) and Cromer Finance Ltd. v. Berger, 137 F. Supp. 2d 452, 484 (S.D.N.Y. 2001).
Those cases, however, addressed the adequacy of Section 20(a) claims at the pleading stage and
involved far different facts. For example, in Cromer Financial the allegations included, among
other things, that the defendant “owned and controlled [the entities] by exercising direct, daily
supervision, oversight and control through common personnel and shared offices.” 137 F. Supp.
2d at 484 (internal quotation marks omitted). It is precisely this “direct, daily supervision,
oversight and control” that are lacking here. Similarly, in STMicroelectronics, the court found
plaintiff had sufficiently pled “at least some direct involvement by [the allegedly controlling
                                                                                 (footnote continued)

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               Plaintiff also claims that “[e]very member of Nomura Securities’ board of

directors was a member of Nomura Holding’s board of directors” and that this “g[ave] Nomura

Holding unimpeded control over the management and policies of Nomura Securities.” Pl.’s

COL ¶ 123 (citing Pl.’s FOF Part VI.B.1). Plaintiff cites no legal authority for its “unimpeded

control” theory; and even assuming the directors of each entity were the same, that does not

demonstrate that one entity controlled the other. Moreover, plaintiff’s assertion is incorrect:

Nomura Securities had at least one outside director not on the board of Nomura Holding, as is

evident on the face of plaintiff’s own exhibit. See PX 182, at 2. Section 15, moreover, requires

evidence of transaction-specific actual control, Defs.’ Mem. at 96, which plaintiff has not

shown.7

       C.      Plaintiff Conflates the Affirmative Defenses Under Sections 11, 12 and 15.

               Section 15 additionally provides an affirmative defense where a defendant “had

no knowledge of or reasonable ground to believe in the existence of the facts by reason of which

[liability] is alleged to exist.” 15 U.S.C. § 77o. As explained in defendants’ Pretrial

Memorandum of Law, none of the Section 15 defendants knew or had reasonable grounds to

believe that any representations contained in the prospectus supplements might be materially


(footnote continued)
entity] in the underlying events.” 775 F. Supp. at 536 (internal quotation marks omitted). Again,
direct involvement in the underlying events is lacking here.
7
         Additionally, plaintiff has not shown culpable participation in the alleged wrongful
conduct. See, e.g., Wallace v. Buttar, 239 F. Supp. 2d 388, 395 (S.D.N.Y. 2003) (requiring such
a showing), overruled on other grounds, 378 F.3d 182 (2d Cir. 2004); see also In re Lehman
Bros. Mortg.-Backed Secs. Litig., 650 F.3d 167, 186 (2d Cir. 2011) (noting that whether
“culpable participation” is required is an issue that has divided district courts in this Circuit and
listing cases); but cf. In re Worldcom, Inc. Secs. Litig., 2005 WL 638268, at *13 n.16 (S.D.N.Y.
Mar. 21, 2005) (stating that courts that have imposed a “culpable participation” requirement for
Section 15 claims are outliers).



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false. See Defs.’ Mem. at 98-102. Plaintiff’s only response in its Opposition is to wrongly

conflate the standards of Sections 11, 12, and 15. Plaintiff asserts that “reasonableness under

Section 15 is judged by the same standard as Sections 11 and 12.” Opp. at 12 (citing Worldcom,

2005 WL 638268, at *16). But these three sections are not interchangeable, as this Court has

held. In re Worldcom, Inc. Secs. Litig., 346 F. Supp. 2d 628, 663 (S.D.N.Y. 2004) (“Section

12(a)(2) has a defense of reasonable care that is less demanding than the duty of due diligence

imposed under Section 11.”).8

               The language of Section 15 is different than that found in Sections 11 and 12, and

the standards for establishing the affirmative defenses under each Section are likewise different.9

See Iraola & CIA, S.A. v. Kimberly-Clark Corp., 232 F.3d 854, 859 (11th Cir. 2000) (“[W]hen

Congress uses different language in similar sections, it intends different meanings.”) (citing

United States v. Gonzales, 520 U.S. 1, 5 (1997)). In particular, the text of Section 15—unlike

Section 11—does not impose a duty to conduct an investigation, instead requiring only that the

defendant had no knowledge of and no “reasonable ground to believe” in the existence of facts

by which liability is alleged to exist. Worldcom, 2005 WL 638268, at *16–*17. As defendants

have shown, Defs.’ Mem. at 98-102, none of the Section 15 defendants had such knowledge or

“reasonable ground to believe,” and plaintiff has no evidence to the contrary.




8
        The only other decision plaintiff cites (in a footnote) for its assertion that the defenses to
the three sections is the same is SEC v. First Jersey Securities, Inc., a case that did not involve
any of Sections 11, 12, or 15. See 101 F.3d 1450, 1473 (2d Cir. 1996) (discussing Section
20(a)’s good-faith defense).
9
        In fact, even within the language of Section 11, “courts have distinguished between the
due diligence obligations of inside and outside directors.” WorldCom, 2005 WL 638268, at *10.



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IV.    PLAINTIFF LACKS SUFFICIENT EVIDENCE CONCERNING THE
       LOCATION OF THE TRANSACTIONS AT ISSUE.

       A.      Plaintiff Cannot Show That the “Sale” of the Certificates Occurred in the
               District of Columbia or Virginia.

               Plaintiff ignores the well-settled rule that “the party who seeks the exercise of

jurisdiction in his favor . . . must carry throughout the litigation the burden of showing that he is

properly in court.” Lupo v. Human Affairs Int’l, Inc., 28 F.3d 269, 273 (2d Cir. 1994) (quoting

McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 189 (1936)). Plaintiff has refused to

take this burden seriously and cannot meet it here.

               Plaintiff acknowledges that the blue sky laws limit their application to “sales” that

“took place, at least in part,” in the regulating state. Pl.’s COL ¶ 3. Plaintiff has provided no

evidence that “sales” of any of the Certificates occurred in D.C. or Virginia. Rather, it tethers its

Virginia and D.C. claims to a handful of pre-transaction e-mails, from Nomura Securities, RBS

or Lehman to Freddie Mac or Fannie Mae traders, that provided information plaintiff says was

linked to the “sales” at issue. See, e.g., Pl.’s FOF ¶¶ 87, 92, 97, 102, 106, 110, 114.10

               Even if these e-mail communications could be characterized as “sales” under the

blue sky laws (and they cannot), plaintiff has failed to show that the Freddie Mac and Fannie

Mae employees who sent or received these e-mails were, in fact, located in Virginia or D.C. at

the time the communications were made. Instead, plaintiff offers only general allegations that

these individuals were, for example, “based in Virginia,” Pl.’s FOF ¶ 114, or “located in

Virginia,” Pl.’s FOF ¶ 102. These allegations are insufficient. As courts have repeatedly

recognized in evaluating jurisdictional facts, “[a]lthough email is directed to particular recipients,


10
         For NHELI 2007-2, plaintiff has also asserted blue sky law jurisdiction on the basis of a
letter from Timothy Crowley of Nomura to Freddie Mac. See Pl.’s FOF ¶ 110.



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email addresses typically do not reveal anything about the geographic location of the addressee.”

Shrader v. Biddinger, 633 F.3d 1235, 1247-48 (10th Cir. 2011); see also Rice v. Karsch, 154 F.

App’x 454, 462 (6th Cir. 2005). “Indeed, an email recipient can typically access his or her email

messages from anywhere in the world with a computer (or other device) and an internet

connection.” Watiti v. Walden Univ., 2008 WL 2280932, at *10 (D.N.J. May 30, 2008).

Plaintiff cannot link the communications it has identified with the states whose laws it now

invokes merely by asserting that the recipients “were based” or “located” in those states.

Accordingly, plaintiff has failed to provide facts sufficient to prove its Virginia and D.C. claims.

       B.      Based on the Evidence To Which Plaintiff Refers, Any Application of the
               Blue Sky Laws to the Transactions at Issue Would Violate the Dormant
               Commerce Clause.

               Plaintiff’s geographical evidence is also insufficient to justify, as a constitutional

matter, application of the Virginia and D.C. blue sky laws. Plaintiff has not demonstrated that

the at-issue transactions occurred in Virginia and D.C. and, as a result, application of Virginia’s

and D.C.’s blue sky laws would violate the dormant Commerce Clause.

               The Commerce Clause authorizes Congress “[t]o regulate Commerce . . . among

the several States.” U.S. Const. art. I, § 8, cl. 3. Although the clause is phrased as an affirmative

grant of power, the Supreme Court has long construed it to contain an implied limitation on state

authority to interfere with interstate commerce. Dep’t of Rev. of Ky. v. Davis, 553 U.S. 328, 337

(2008). This negative aspect is known as the dormant Commerce Clause. As relevant here,

“[w]hen a statute ‘directly controls commerce occurring wholly outside the boundaries of a

State,’ it is invalid under the dormant Commerce Clause because it ‘exceeds the inherent limits

of the enacting State’s authority.’” Entergy Nuclear Vt. Yankee, LLC v. Shumlin, 733 F.3d 393,

429 (2d Cir. 2013) (quoting Healy v. Beer Inst., 491 U.S. 324, 336 (1989)). Courts “look[] to

where the transaction being regulated was consummated to determine whether the application of

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a law impermissibly regulates extraterritorial commerce.” Eric M. Berman, P.C. v. City of N.Y.,

895 F. Supp. 2d 453, 483 (E.D.N.Y. 2012).

                The location of the regulated conduct under the federal securities laws is

determined according to the principles laid down in Morrison v. National Australia Bank Ltd.,

561 U.S. 247 (2010), and its progeny. Morrison held that Section 10(b) of the Securities and

Exchange Act of 1934 does not apply extraterritorially, a test that hinges on the location of the

relevant transaction. Id. at 266–67.

                Morrison in turn spawned a line of cases articulating precisely where a transaction

occurs. In Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60 (2d Cir. 2012), the

Second Circuit held that “transactions involving securities that are not traded on a domestic

exchange are domestic if irrevocable liability is incurred or title passes within the United States.”

Id. at 67. The “irrevocable liability” prong depends on where “the purchaser incurred

irrevocable liability” to buy or where “the seller incurred irrevocable liability” to sell. Id. at 68.

This inquiry typically hinges on “facts concerning the formation of the contracts, the placement

of purchase orders, the passing of title, or the exchange of money.” Id. at 70. Where title passes

is, on its own, a significant factor. Id. at 67.

                Prior to Morrison, courts upheld Blue Sky statutes on the ground that they

regulate in-state conduct exclusively. See, e.g., A.S. Goldmen & Co., Inc. v. N.J. Bureau of

Secs., 163 F.3d 780, 785 (3d Cir. 1999) (“The key to the laws’ constitutionality, the Court held,

was that ‘[t]he provisions of the law . . . apply to dispositions of securities within the state.”)

(quoting Hall v. Geiger-Jones Co., 242 U.S. 539, 557 (1917)). Morrison, however, sets forth a

new, federal definition of where a transaction occurs. To avoid running afoul of the dormant

Commerce Clause, a plaintiff must establish that a transaction occurred within the regulating



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state under Morrison’s standards. See, e.g., In re Nat’l Century Fin. Enters., Inc., 755 F. Supp.

2d 857, 884 (S.D. Ohio 2010) (applying Morrison’s transactional test to Ohio blue sky law under

the dormant Commerce Clause); see also Houston v. Seward & Kissel, LLP, 2008 WL 818745,

at *5 (S.D.N.Y. Mar. 27, 2008) (stating that the Oregon blue sky law is “limited to the sale of

securities in the state” and rejecting a dormant Commerce Clause challenge because the at-issue

securities were purchased in the state).

               Plaintiff cannot satisfy this burden. The at-issue securities were not traded on any

exchange. As a result, the relevant transactions took place in Virginia or D.C.—and thus were

subject to the reach of their blue sky laws—only if title passed or if irrevocable liability was

incurred in Virginia or D.C. Although plaintiff has asserted that certain communications were

directed to these two jurisdictions, it apparently has no evidence that the actual contracts were

formed in either. Nor has it proffered evidence that title passed in Virginia or D.C.11 In

consequence, application of the Virginia and D.C. Blue Sky laws would violate the dormant

Commerce Clause. See In re Nat’l Century, 755 F. Supp. 2d at 888 (“The court finds that under

the transactional test, the conduct being regulated by the Ohio Securities Act is the sale and

purchase of securities. The sales between Credit Suisse and the Noteholders occurred wholly




11
        The at-issue Certificates were transferred through the DTC clearinghouse, which is
located in New York. (See DX-1 (2005-AR6 Prospectus Supplement); DX-2 (2006-FM1
Prospectus Supplement); DX-3 (2006-HE3 Prospectus Supplement); DX-4 (2006-FM2
Prospectus Supplement); DX-5 (2007-1 Prospectus Supplement); DX-6 (2007-2 Prospectus
Supplement); DX-7 (2007-3 Prospectus Supplement).) As Judge Daniels explained on remand
in Absolute Activist, the penny stock transactions at issue qualified as domestic because “[i]n the
securities context, courts look at the place where a trade settles to determine where title is
transferred,” and “[h]ere, most of the penny stock trades were settled through the Depository
Trust Company (‘DTC’), which is located in New York.” 2013 WL 1286170, at *17-18
(S.D.N.Y. Mar. 28, 2013).



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outside of Ohio; thus, applying [the Ohio blue sky law] would violate the extraterritoriality

principle of the Commerce Clause.”).

V.     PLAINTIFF MISCONSTRUES THE LOSS CAUSATION STANDARD AND
       ATTEMPTS TO IMPERMISSIBLY LIMIT THE EVIDENCE THAT
       DEFENDANTS CAN OFFER TO SATISFY THEIR BURDEN OF PROOF.

               As both parties recognize, the amount otherwise recoverable by plaintiff under

Section 12 must be reduced in whole or in part if defendants show that any depreciation in value

of the Certificates was caused by factors other than the alleged misstatements and omissions.

See 15 U.S.C. § 77l(b); Iowa Pub. Employees’ Ret. Sys. v. MF Global, Ltd., 620 F.3d 137, 145

(2d Cir. 2010); Pl.’s COL ¶ 166; Defs.’ COL ¶¶ 90–91. Defendants’ right to prove the lack of a

causal connection between the alleged misstatement and the harm actually suffered “is

predicated upon notions of equity” and involves questions of public policy. Suez Equity

Investors, L.P., v. Toronto-Dominion Bank, 250 F.3d 87, 95 (2d Cir. 2001). “No social purpose

would be served by encouraging everyone who suffers an investment loss because of an

unanticipated change in market conditions to pick through [loan applications] with a fine-tooth

comb in the hope of uncovering a misrepresentation.” First Nationwide Bank v. Gelt Funding

Corp., 27 F.3d 763, 772 (2d Cir. 1994) (quoting Bastian v. Petren Res. Corp., 892 F.2d 680, 685

(7th Cir. 1990)). Plaintiff’s argument that defendants cannot show that any losses were caused

by market-wide phenomena relies on an incorrect interpretation of the governing legal standards

and a disregard of the facts.

       A.      Plaintiff Mischaracterizes the “Subject” of the Alleged Misrepresentations
               and Omissions.

               The Section 12 loss causation defense requires defendants to demonstrate that

some portion of Freddie Mac’s and Fannie Mae’s losses was caused by factors other than the

“subject” of the alleged misrepresentations or omissions. See Lentell v. Merrill Lynch & Co.,


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396 F.3d 161, 173 (2d Cir. 2005). In assessing whether a defendant has made the requisite

showing, courts consider “whether ‘the subject of the fraudulent statement or omission was the

cause of the actual loss suffered, i.e., that the misstatement or omission concealed something

from the market that, when disclosed, negatively affected the value of the security.’” In re State

St. Bank & Trust Co. Fixed Income Funds Inv. Litig., 774 F. Supp. 2d 584, 590 (S.D.N.Y. 2011)

(quoting Lentell, 396 F.3d at 173).

               The “subject” of the alleged misrepresentations are the specific misstatements (if

any) that plaintiff is able to prove at trial, and the causal effects of these specific misstatements

on the value of the at-issue Certificates. See Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195,

222 (3d Cir. 2006) (loss causation requires “that it was the very facts about which the defendant

lied which caused [plaintiff’s] injuries”) (internal citations omitted). Contrary to plaintiff’s

overbroad characterization, the “subject” of the alleged misrepresentations is not “the fact that

the SLG loans had a greater credit risk than was represented in the Prospectus Supplements.”

Pl.’s COL ¶ 171. Rather, it is the specific misrepresentations plaintiff has alleged concerning

underwriting, appraisals, owner occupancy and credit ratings, and the magnitude of those alleged

misstatements that is at issue. See First Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763,

770 (2d Cir. 1994) (“In determining whether the required directness [to show proximate cause] is

present in the context of a fraudulently induced loan, important considerations” include “the

magnitude of the misrepresentations”). Here, as defendants have shown, see Defs.’ Mem. at

103–10, the misrepresentations plaintiff has alleged did not conceal anything that caused

plaintiff’s losses. Rather, any diminishment in the value of the Certificates was caused by the

severe decline in house prices and macroeconomic factors that affected the entire market.




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               Plaintiff relies on one case—NECA-IBEW Health & Welfare Fund v. Goldman

Sachs & Co., 693 F.3d 145 (2d Cir. 2012)—to argue that there is a “direct relationship” between

the alleged misstatements and the Certificates’ losses. Pl.’s COL ¶ 171. Plaintiff’s reliance is

misplaced. NECA-IBEW concerned whether a plaintiff had alleged cognizable injury under

Section 11 of the Securities Act, 15 U.S.C. § 77k. Id. at 149, 155. The court’s finding that the

alleged misrepresentations in the offering documents of the at-issue securities were sufficient to

plead a “cognizable injury—a decline in value—under § 11,” id. 166-67, did not suggest the

existence of a “direct relationship” between the misstatements and any losses suffered by

plaintiff. See Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 342 (2005) (noting that “an inflated

purchase price will not itself constitute or proximately cause the relevant economic loss”).

               On the other hand, numerous courts, including the Second Circuit, have

recognized that market-wide phenomena, such as the housing crisis and economic recession the

United States experienced from 2007 to 2009 “causing comparable losses to other investors,” can

be an intervening cause of investor losses and can be relied upon to show that such losses were

not caused by any securities law violation. See, e.g., Lentell, 396 F.3d at 174; Castellano v.

Young & Rubicam, Inc., 257 F.3d 171, 189 (2d Cir. 2001) (“[W]hen factors other than the

defendant's fraud are an intervening direct cause of a plaintiff’s injury, that same injury cannot be

said to have occurred by reason of the defendant’s actions.”) (internal quotation marks and

citations omitted); First Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763, 772 (2d Cir.

1994) (real estate market crash was an intervening cause); In re Apple REITs Litig., 2013 WL

1386202, at *18 (E.D.N.Y. April 3, 2013) (plaintiff could not overcome defendants’ affirmative

loss causation defense when plaintiff itself acknowledged the negative impact of the economy on




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the hotel industry); cf. Powers v. British Vita P.L.C., 57 F.3d 176, 189 (2d Cir. 1995) (recession

was a direct intervening cause of plaintiff’s loss in RICO context).

       B.      Defendants Will Meet Their Burden on Loss Causation.

               Defendants do not, as plaintiff misleadingly contends, rely on “the mere fact of

the financial crisis” to support their loss causation defense. Pl.’s COL ¶ 178. Defendants have

offered and will offer evidence, including both fact and expert testimony and statements by

Freddie Mac and Fannie Mae themselves, proving that any loss suffered by Freddie Mac and

Fannie Mae was caused by declining house prices and other macroeconomic factors—not the

misstatements alleged by plaintiff. See Defs.’ FOF ¶¶ 199–283. This evidence, and the fact that

“plaintiff’s loss coincides with a marketwide phenomenon causing comparable losses to other

investors” demonstrates that plaintiff’s losses were not caused by the alleged misrepresentations.

Lentell, 396 F.3d at 174.

               Contrary to plaintiff’s assertion, Pl.’s COL ¶174, the standard of proof for loss

causation in the securities law context does not demand a precise quantification; rather, the party

with the burden need only ascribe “some rough proportion of the whole loss” to the alleged

misstatements versus other factors. Lattanzio v. Deloitte & Touche LLP, 476 F.3d 147, 158 (2d

Cir. 2007) (a party must offer some evidence “that would allow a factfinder to ascribe some

rough proportion of the whole loss to [the misstatements]”); cf. Robbins v. Koger Properties,

Inc., 116 F.3d 1441, 1447 n.5 (11th Cir. 1997) (“To satisfy the loss causation element, a [Rule

10b-5] plaintiff need not show that a misrepresentation was the sole reason for the investment’s

decline in value.”).12 Thus, to meet their burden of proving loss causation, defendants must


12
        Nuveen Municipal High Income Opportunity Fund v. City of Alameda, 730 F.3d 1111
(9th Cir. 2013), cited by plaintiff, Pl.’s COL ¶ 172, is inapposite. In that case, an expert’s
testimony was excluded where the expert advanced a corrective disclosure theory (expressly
                                                                                 (footnote continued)

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“disaggregate the declines or some rough percentage of the declines from losses resulting from

other, non-fraud related events.” In re Vivendi Universal, S.A. Sec. Litig., 605 F. Supp. 2d 586,

600 (S.D.N.Y. 2009) (emphasis added).

               Plaintiff also asserts that “[d]efendants offer no expert analysis” and are thus

“unable to sustain their burden of proving a loss causation defense.” Pl.’s COL ¶ 177 (internal

quotation marks and citations omitted). Not so. Dr. Kerry Vandell, who evaluated whether

loans in the SLGs deemed defective by plaintiff’s expert Robert Hunter had higher default and

delinquency rates than loans Hunter determined were not materially defective, has offered

testimony that alone satisfies defendants’ burden. Vandell Test. ¶¶ 147–48. Dr. Vandell’s

empirical analysis demonstrates that the defects Hunter purportedly identified had no impact on

the performance of the loans in the SLGs—and thus, caused no losses to Freddie Mac or Fannie

Mae. Id. ¶¶ 153–55; Defs.’ FOF ¶ 281.

               Additionally, contrary to plaintiff’s assertion, Pl.’s COL ¶ 180, defendants are

entitled to offer non-expert evidence in support of their loss causation defense. See Adair v.

Kaye Kotts Assocs., Inc., 1998 WL 142353, at *7 (S.D.N.Y. Mar. 27, 1998) (“[I]n the cases

where defendants have successfully established an 11(e) defense on summary judgment, they

have not only submitted expert testimony, but have provided and discussed evidence attributing

the decline to factors other than their own disclosure of financial results.”); Akerman v. Oryx

Commc’ns, Inc., 810 F.2d 336, 341 (2d Cir. 1987) (granting summary judgment to defendants on

loss causation based on both fact and expert evidence). Plaintiff’s argument that “lay witness


(footnote continued)
abandoned by plaintiff) and failed to quantify the value of the cable and internet system either
when the bonds were issued or when the system was sold, or the extent to which any specific
misrepresentation or revelation impacted value. See Nuveen, 730 F.3d at 1120 n.2.



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testimony . . . is inadmissible” on the issue of loss causation is baseless; this Court has already

rejected plaintiff’s argument that “loss causation must be proven by experts,” not GSE

documents and lay testimony. FHFA v. Nomura Holding Am., Inc., 2015 WL 685159, at *1

(S.D.N.Y. Feb. 18, 2015).13

       C.      The Housing Crisis and Economic Recession Were Not Caused By, or
               Foreseeable Consequences of, the Alleged Misstatements.

               Attempting to finesse the historical circumstances of its losses, plaintiff further

suggests that the defendants’ conduct caused the decline in house prices and financial crisis. See

Pl.’s COL ¶ 178 (citing King Cnty., Wash. v. IKB Deutsche Industriebank AG, 708 F. Supp. 2d

334, 343–44 (S.D.N.Y. 2010)). This pushes credulity to the breaking point. Plaintiff will not be

able to show that any alleged misrepresentations in the seven securitizations at issue had

anything to do with the severe decline in house prices and economic recession.14

               Moreover, to be proximately caused by a misstatement, a loss must be a

foreseeable consequence of the alleged misstatement. In re WorldCom, Inc. Secs. Litig., 294 F.

Supp. 2d 392, 413 (S.D.N.Y. 2003) (“[I]n order for the plaintiff to recover it must prove the

damages it suffered were a foreseeable consequence of the misrepresentation.”) (internal


13
       Defendants respectfully disagree with the Court’s ruling concerning Vandell’s
benchmarking analysis and reserve all rights for appeal. Defendants also respectfully disagree
with the Court’s ruling that the testimony of Freddie Mac and Fannie Mae witnesses and other
non-expert witnesses on the issue of loss causation constitutes supposedly impermissible “lay
opinion” testimony, or that such can only be offered pursuant to Rule 701 if the witness
performed an “investigation during the course of her employment addressed to the issue of loss
causation.” FHFA v. Nomura Holding Am. Inc.¸ 2015 WL 685159, *4 (S.D.N.Y. Feb. 18, 2015).
Defendants reserve all rights for appeal.
14
       The King County decision cited by plaintiff involved the sufficiency of plaintiff’s loss
causation pleading under Section 10(b), which, under Rule 8(a), required plaintiff to allege only
“something beyond the mere possibility of loss causation.” 708 F. Supp. 2d at 339. The King
County court did not hold that the defendants in that action caused the financial crisis.



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citations and quotations omitted); Lentell, 396 F.3d at 173 (loss must be foreseeable). The

foreseeability inquiry hinges on whether “the risk that caused the loss was within the zone of risk

concealed by the misrepresentations and omissions alleged by a disappointed investor.” In re

State St. Bank & Trust Co. Fixed Income Funds Inv. Litig., 774 F. Supp. 2d 584, 590 (S.D.N.Y.

2011). The housing market decline and economic recession that led to losses in the value of the

securities was not “within the zone of risk concealed by the misrepresentations” allegedly made

in the prospectus supplements for the at-issue securitizations. Id.; see also, e.g., Cable v.

Hechler, 532 F. Supp. 239 (E.D.N.Y. 1981) (no proximate cause where although defendant’s

actions foreseeably caused inquiry by the American Stock Exchange, the outcome of the inquiry

that caused plaintiff’s losses was not foreseeable); Moore v. Slonin, 426 F. Supp. 524 (D. Conn.

1977) (not foreseeable that alleged fraud would force plaintiff to file for bankruptcy, which in

turn harmed his credit and reputation).

VI.    PLAINTIFF OVERSTATES THE AMOUNT RECOVERABLE UNDER
       SECTION 12 AND THE BLUE SKY LAWS.

               Plaintiff continues to argue that the Court should apply the IRS underpayment

rate—a rate used in cases involving “massive and coordinated system[s] of fraudulent practices,”

SEC v. First Jersey Secs., Inc., 101 F.3d 1450, 1456 (2d Cir. 1996), and “illegal conduct” that is

“flagrant and longstanding,” SEC v. Boock, 2012 WL 3133638, at *5 (S.D.N.Y. Aug. 2, 2012)

(Cote, J.). Plaintiff contends that it is appropriate to apply the IRS underpayment rate here

because that rate “reflects what it would have cost to borrow the money from the government

and therefore reasonably approximates one of the benefits the defendant derived from its fraud.”

Pl.’s COL ¶ 156 (internal quotation marks omitted). This argument fails on several counts.

               First, there is no allegation of fraud in this Action, which distinguishes it from

every decision on which plaintiff relies. In SEC v. Rosenfeld, for example, the defendant had


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engaged in a fraudulent scheme that included “overstating the value of [a corporation’s] assets in

reports filed with the SEC, failing to disclose the related party nature of certain transactions to

which [that corporation] was a party, engaging in the unregistered distribution of [that

corporation’s] common stock, making undisclosed cash and/or stock payments to [one of the

individual defendants], a registered representative, falsifying the company’s books and records,

failing to disclose material information to [the corporation’s] auditors, and various other material

misrepresentations and omissions.” SEC v. Rosenfeld, 1997 WL 400131, at *1 (S.D.N.Y. July

16, 1997).

                Second, plaintiff has cited no support whatsoever for its newly minted—and

meritless—argument that equates “criminal behavior and fraud” with allegedly inadequate due

diligence.15   Plaintiff argues that the IRS penalty rate should be applied here because defendants

“wholly abandoned the standard of care required of them.” Opp. at 12.16 Plaintiff, yet again,

offers not a single case to support its argument—and improperly conflates a summary judgment

ruling on a reasonable care defense with “misconduct” or “fraud.”

                Third, plaintiff argues in favor of the IRS penalty rate because it “is appropriate to

discourage parties from using the government as an involuntary banker.” Opp. at p. 13 (internal


15
       Despite the Court’s due diligence ruling, defendants respectfully maintain that they
conducted adequate due diligence that was not only reasonable, but consistent with, and in some
instances superior to, standard industry practices at the time. Nomura Defs.’ Mem. in Opp. to
Pl.’s Motion for Partial Summary Judgment on Defs.’ Due Diligence and Reasonable Care
Defenses, Dec. 2, 2014; RBS Securities Inc.’s Mem. of Law in Opp. to Pl.’s Motion for Partial
Summary Judgment on Defs.’ Due Diligence and Reasonable Care Defenses, Dec. 2, 2014.
Defendants reserve all rights for appeal.
16
       Moreover, aside from having no factual basis, plaintiff’s unsupported speculation that
defendants’ alleged “misconduct contributed to the worst financial crisis since the Great
Depression,” Pl.’s Opp. at 12, does not present a legally cognizable basis to apply the IRS
penalty rate.



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quotation marks omitted). Freddie Mac and Fannie Mae are not the government. Furthermore,

there is no dispute that during the period from the dates the Certificates were purchased through

February 25, 2015, Freddie and Fannie received about 98% of the principal due to be paid to

them in that period— a total of more than $1.42 billion, out of about $1.45 billion. In addition,

Freddie and Fannie received approximately $175 million in interest payments. The assertion

that anybody has “borrowed” vast sums from the government is thus blatantly false. In fact, as

of February 25, 2015, Freddie and Fannie had received about $1.60 billion in principal and

interest payments from the Certificates.

               Awards of prejudgment interest must not overcompensate the plaintiff. Defs.’

COL at ¶ 105 (citing Wickham Contracting Co., Inc. v. Local Union No. 3, Int’l Bhd. of Elec.

Workers, AFL-CIO, 955 F.2d 831, 834 (2d Cir. 1992)). Here, in light of the Court’s February

16, 2015 ruling (Doc. No. 1272), Nomura will not be credited with prejudgment interest on the

more than $174,769,573 that Freddie Mac and Fannie Mae will have received in coupon

payments from the at-issue securities by the time recovery is calculated on the judgment date. In

other words, here, if plaintiff prevails, it is not “the government,” as plaintiff contends, that has

been the “involuntary banker,” Opp. at 13, but rather Nomura that will have effectively lent $175

million to Freddie Mac and Fannie Mae interest free.17 As defendants’ expert, Dr. Timothy J.




17
        Defendants respectfully disagree with the Court’s February 16, 2015 Order (Doc. No.
1272), and reserve all rights for appeal. Other courts disagree with this Court’s holding that
interest payments are not “income received” under Section 12. See, e.g., Charles Schwab Corp.
v. Banc of Am. Sec. LLC, No. CGC-10-501151, slip op. at 6-7 (Cal. Super. Ct. Nov. 10, 2014)
(holding that “interest payments” were “income received” even though such payments did not
reduce the outstanding principal balance); see also Austin v. Loftsgaarden, 768 F.2d 949, 958
(8th Cir. 1985), rev’d on other grounds, 478 U.S. 647 (1986) (“The goal of prejudgment interest
is to compensate plaintiffs for the loss of the use of their money.”); Schott v. Maidsville Coal
Min. P’ship, 1979 WL 1245, at *4 (S.D.N.Y. Sept. 7, 1979) (awarding the plaintiff consideration
                                                                                 (footnote continued)

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Riddiough, testified, “[t]he non-payment of pre-judgment interest on coupon payments thus, in

the context of the rescissory remedy, imposes an economic penalty on Nomura.” Riddiough

Test. at ¶ 74. In these circumstances, any rate of prejudgment interest in excess of the one-year

constant maturity Treasury rate imposed on defendants would be unjust.

               Plaintiff also argues for the first time in its Opposition that the Court should apply

interest “with daily compounding” based on 26 U.S.C. § 6622(a). Opp. at 14 (citing United

States v. McDermott, 2014 WL 917267, at *1 (E.D.N.Y. Mar. 10, 2014); Flanagan v. N. Star

Concrete Const., Inc., 2014 WL 4954615, at *9 (E.D.N.Y. Oct. 2, 2014)). However, “section

6622 applies expressly only to internal revenue tax cases and post-judgment interest allowed on

money judgments in civil cases in a district court.”18 McLaughlin v. Cohen, 686 F. Supp. 454,

458 (S.D.N.Y. 1988) (emphasis added). Section 12 does not require any rate of interest to be

paid under Title 26 and, as such, Section 6622 would not be implicated. Plaintiff’s belated

argument for daily compounding is nothing more than another request for an improper penalty.

Should plaintiff prevail, prejudgment interest should be applied as it was by both plaintiff’s




(footnote continued)
paid “less any distributions made to him . . . “plus interest on the net amount so calculated.”)
(emphasis added).
18
        Section 6622 provides: “In computing the amount of any interest required to be paid
under this title or sections 1961(c)(1) or 2411 of Title 28, United States Code, by the Secretary or
by the taxpayer, or any other amount determined by reference to such amount of interest, such
interest and such amount shall be compounded daily.” 26 U.S.C. § 6622. In McDermott, the
government brought the action to recover unpaid taxes, and in accordance with Section 6622,
interest awarded was compounded daily. 2014 WL 917267, at *1. Similarly, in Flanagan, the
plaintiff recovered under the Employee Retirement Income Security Act of 1974 (“ERISA”),
which instructs that interest is required to be paid under “Title 26.” 2014 WL 4954615, at *1,
*9.



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expert, James K. Finkel, and defendants’ expert, Dr. Riddiough—using simple pre-judgment

interest.

                                       CONCLUSION

              Plaintiff’s recent submissions, including its “Proposed Conclusions of Law” and

“Opposition to Defendants’ Pretrial Memorandum of Law,” are full of misstatements and errors.

Defendants make this submission to point out some of the more glaring of these.


Dated: New York, New York
       March 9, 2015




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                                                 Respectfully submitted,

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